Case 17-13671-mkn Doc13 Entered 07/19/17 15:13:26 Page 1 of 21

Fill in this information to identify your case:

Debtor 1 HAIG BOGHOSSIAN

First Name Middle Name Last Name

Debtor 2 SANDRA BOGHOSSIAN

(Spouse if, filing) First Name Middie Name Last Name

 

 

United States Bankruptcy Court forthe: § DISTRICT OF NEVADA

 

Case number 17-13671-mkn
(if known) (] Check if this is an
amended filing

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

 

 

Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

ta. Copy line 55, Total real estate, from Schedule A/B...0..... cece eccese cee ceseeeceseeeneneeenensseeeteseesenenenssensnessneeienesitenes $ 380,066.00
1b. Copy line 62, Total personal property, from Schedule A/B..... eee cece cece teen eeeene tees neneseeneneterieenias $ 14,265.00
ic. Copy line 63, Total of all property on Schedule A/B.o.... cee cease seeeees cee receeceerseenenaecoersnesnsreeesanenteeseesseeeneeese $ 394,331.00

Summarize Your Liabilities

 

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 443,629.96
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......... cece $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6} of Schedule E/F...... ee $ 2,432.00
Your total liabilities | $ 446,061.96

 

 

 

cues | Summarize Your Income and Expenses

 

4. Schedule I: Your income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule fo... ec eccccceccseeeeeeeeeeeceteeeeeaeeaeeneeetenesaeeeeseeetaees $ 3,100.00

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J.o......cecccecccesesceetececneetenenseneeeeeceataneceecnseareaaeees $ 2,131.33

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
(]_ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M Yes
7, What kind of debt do you have?

fg Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a Personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C1] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN Case number (if known) 17-13671-mkn

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

 

 

 

 

 

 

 

122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. 4,000.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

9d. Student loans. (Copy line 6f.) $ 0.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) 0.00

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00

9g. Total. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Case 17-13671-mkn Doc13_ Entered 07/19/17 15:13:26 Page 3 of 21

Fill in this information to identify your.case and this filing:

 

 

 

Debtor 1 HAIG BOGHOSSIAN

First Name Middle Name Last Name
Debtor 2 SANDRA BOGHOSSIAN
(Spouse, if filing} First Name Middle Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number 17-13671-mkn Cl Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

 

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CI No. Go to Part 2.
El ves. where is the property?

| What is the property? Check ail that apply
7905 RAMBLEWOOD AVE

 

 

 

 

 

HA Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description init huiidi the amount of any secured claims on Schedule D:
Duplex or multi-unit buildin
C] P veing Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
({] Manufactured or mobile home
Current value of the Current value of the
Las Vegas NV 89128-0000 (Land entire property? portion you own?
City State ZIP Code C1 investment property $380,066.00 $380,066.00
Timeshare
C1 Timeshar Describe the nature of your ownership interest
C1) Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
0 debtor 4 only Fee simple
Clark [debtor 2 only
County HB oDebtor 1 and Debtor 2 only

Be Check if this is community property
O At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here... ccc se ccessseseeccecassaeseesenneseseseeeaerecseerenenenee => $380,066.00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

Official Form 106A/B Schedule A/B: Property page 1
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Debtor1 HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN Case number (ifknown) 17-13671-mkn

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

 

C1 No
Ei ves
4 : CHEVROLET : : 2 Do not deduct secured claims or exemptions. Put

3.1 Makes GHEVAVEET ~~~ Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: F250 C1 Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2

2004 O debtor 2 only Current value of the Current vaiue of the
Approximate mileage: 180K | Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: (1 At least one of the debtors and another
FAIR CONDITION

Check if this is community property $2,950.00 $2,950.00
{see instructions)

3.2 . NISSAN : : 2 Do not deduct secured claims or exemptions. Put
Makes NISSAN ——————S—s—sS(Whhov has: nntterreesst in the property? Check one the amount of any secured claims on Schedule D:
Mode: 2502 C) bebtor 4 only Creditors Who Have Claims Secured by Property.
Year:

2006 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 110K gE Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: C1 At least one of the debtors and another
GOOD CONDITION

HE check if this is community property $3,650.00 $3,650.00
{see instructions)

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Ei No
(J Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for

-_pages you have attached for Part 2. Write that number here... we => $6,600.00

 

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

CT No
Mi Yes. Describe...

 

| FURNITURE AND HOUSEHOLD ITEMS $2,500.00

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

[] No
El Yes. Describe.....

 

| TVS, COMPUTER AND HOUSE APPLIANCES $3,500.00

 

. 8. Collectibles of value . . . .
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or basebail card collections;
other collections, memorabilia, collectibles

Ei No
Official Form 106A/B Schedule A/B: Property page 2

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Debtor1 HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN Case number (ifknown) 17-13671-mkn

 

C Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

IE No
(J Yes. Describe.....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

EI No
1 Yes. Describe...

11, Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

[No
i Yes. Describe...

 

[PERSONAL CLOTHING | $1,350.00

 

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

Ei No
(1) Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

EE No
Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
Bi No
0 Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .. sesnresoeentvanecesasaneetenuesevenseaees $7,350.00

 

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

EI No

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

 

 

 

 

[CI No
Bes. Institution name:
17.1. CHECKINGS #2248 BANK OF AMERICA $15.00
SMALL BUSINESS
17.2. ACCOUNT #8011 BANK OF AMERICA . ~ $300.00
Official Form 106A/B Schedule A/B: Property page 3

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Debtor1 HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN Case number (ifknown) 17-13671-mkn

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
C] Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

EE No

Cl Yes. Give specific information about them......0..0.0.....
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

EINo

Cl Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

Ei No

C] Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

BBNno
Cl yes. cee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

EINo
CV Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Eno
CJ ves institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
ENo
C Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Ei No
OC Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No
(1 Yes. Give specific information about them...
Nloney or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
ENo
Cl Yes. Give specific information about them, including whether you already fited the returns and the tax years....... ;

Official Form 106A/B Schedule A/B: Property page 4
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Debtor1 HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN Case number (ifknown) 17-13671-mkn

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Bi No
( Yes. Give specific information...

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

EENo
Cl Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

Ei No

(1 Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive properly because
someone has died.

Bi No
Cl Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

EE No
[] Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
EENo
C1 Yes. Describe each claim.........

35. Any financial assets you did not already list
BiNo
[J Yes. Give specific information.

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here..... ccaunsunsesnsesenecssaesssensessesacenesacasenasecsussersenecenraeceeranes on $315.00

 

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 4.

 

37. Do you own or have any legal or equitable interest in any business-related property?
HF No. Go to Part 6.
C1) Yes. Go to line 38.

icism-m | Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
El No. Go to Part 7.
C] Yes. Go to line 47.

 

Describe All Property You Own or Have an Interest in That You Did Not List Above
Official Form 106A/B Schedule A/B: Property page 5

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Debtor 1 HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN Case number (ifknown) 17-13671-mkn

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Ei No
Cl Yes. Give specific information.........

 

 

 

 

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ..........ecceceseseeeeeeeees $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, LIne 2 oc... ccessseccescccscceesennsnessasscensssscencssesscacersesenes va $380,066.00

56. Part 2: Total vehicles, line 5 $6,600.00

57. Part 3: Total personal and household items, line 15 $7,350.00

58. Part 4: Total financial assets, line 36 $315.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $14,265.00 | Copy personal property total $14,265.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $394,331.00
Official Form 106A/B Schedule A/B: Property page 6

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Fill in this information to identify your.case:

Debtor 4 HAIG BOGHOSSIAN

First Name Middie Name Last Name

Debtor 2 SANDRA BOGHOSSIAN

(Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number 17-13671-mkn
{if known) ( Check if this is an

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4l16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. ff more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
Ei You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
Cl You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief.description of the property and line on Current value of the Amount ofthe exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the-value from Check only. one box for each exemption.

Schedule A/B
2004 CHEVROLET F250 180K miles $2,950.00 i $2,950.00 Nev. Rev. Stat. § 21.090(1)(f)
FAIR CONDITION weet ae SO
Line from Schedule A/B: 3.1 [1 100% of fair market value, up to

any applicable statutory limit

 

 

 

 

 

 

2006 NISSAN 250Z 110K miles 3650.00 3650.00 Nev. Rev. Stat. § 21.090(1)(f)
GOOD CONDITION $3,650. a $3,
Line from Schedule A/B: 3.2 C} 400% of fair market value, up to

any applicable statutory limit
FURNITURE AND HOUSEHOLD $2,500.00 g $2,500.00 Nev. Rev. Stat. § 21.090(1)(b)
ITEMS — Sen
Line from Schedule A/B: 6.1 C1 100% of fair market value, up to

any applicable statutory limit
TVS, COMPUTER AND HOUSE $3,500.00 ii $3,500.00 Nev. Rev. Stat. § 21.090(1}(b)
APPLIANCES . *
Line from Schedule A/B: 7.1 CJ 100% of fair market value, up to

any applicable statutory limit

 

PERSONAL CLOTHING $1,350.00 $1,350.00 Nev. Rev. Stat. § 21.090(1)(b)
Line from Schedule A/B: 11.1 * ;

 

CO 100% of fair market value, up to
any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
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Debtor? HAIG BOGHOSSIAN

 

 

 

 

Debtor2 SANDRA BOGHOSSIAN Case number (ifknown)  17-13671-mkn

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you.own

Copy the value from Check only one box for each exemption.

Schedule A/B
CHECKINGS #2248: BANK OF $15.00 i $15.00 Nev. Rev. Stat. § 21.090(1)(z)
AMERICA San =
Line from Schedule A/B: 17.1 [1 400% of fair market value, up to

any applicable statutory limit

SMALL BUSINESS ACCOUNT #8011: 300.00 300.00 Nev. Rev. Stat. § 21.090(1)(z)
BANK OF AMERICA $300, a $
Line from Schedule A/B: 17.2 [100% of fair market value, up to

any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

i No
[C1 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

[C] No
[] Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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Case 17-13671-mkn Doc13_ Entered 07/19/17 15:13:26 Page 11 of 21

Fill in this information to identify your case:

Debtor 1 HAIG BOGHOSSIAN

First Name Middle Name Last Name

Debtor 2 SANDRA BOGHOSSIAN

(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number 17-13671-mkn
(if known) (] Check if this is an

amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
[] No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
& Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

 

: . . on , Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim If any
2.1 | SETERUS Describe the property that secures the claim: $443,629.96 $380,066.00 $63,563.96
Creditor's Name 7905 RAMBLEWOOD AVE Las
Vegas, NV 89128 Clark County
14523 SW MILLIKAN
As of the d file, the claim is:
WAY ST aon tl ate you file, the claim is: Check all that
Beaverton, OR 97005 CJ Contingent
Number, Street, City, State & Zip Code 0 Unliquidated
0 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only KB an agreement you made (such as mortgage or secured
Oo Debtor 2 only car loan)
Ei pebtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
C1] at teast one of the debtors and another =] Judgment lien from a lawsuit
Bi check if this claim relates toa C1 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number 1027
Add the dollar value of your entries in Column A on this page. Write that number here: $443,629.96
if this is the last page of your form, add the dollar value totals from ail pages.
Write that number here: $443,629.96

 

 

 

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Case 17-13671-mkn Doc13_ Entered 07/19/17 15:13:26 Page 12 of 21

Fill in this information to identify your case:

Debtor 1 HAIG BOGHOSSIAN

First Name Middle Name Last Name

Debtor 2 SANDRA BOGHOSSIAN

(Spouse if, filing) First Name Middie Name Last Name

 

 

United States Bankruptcy Court forthe: © DISTRICT OF NEVADA

 

Case number 17-13671-mkn
(if known) ( Check if this is an
amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Aiso list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

elagiee | List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

BB No. Go to Part 2.

0D ves.
List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

C No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Eg Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. lf more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

 

 

 

Part 2.
Total claim

41 CAP ONE Last 4 digits of account number $300.00
Nonpriority Creditor's Name
PO BOX 5253 When was the debt incurred?
Carol Stream, IL 60197
Number Sireet City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
5 Debtor 4 only C] Contingent

Debtor 2 only (1 uniiquidatea

I Debtor 4 and Debtor 2 only CI disputed
[1] At least one of the debtors and another Type of NONPRIORITY unsecured claim:
El check if this claim is for a. community C1 student foans
debt CO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bio C] Debts to pension or profit-sharing plans, and other similar debts
CI Yes Mi other. Specity

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 3

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Debtor 1 HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN

 

 

 

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Case number (if know) 17-13671-mkn

 

 

CREDIT PROCTECTION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2 ASSOCIATION LP Last 4 digits of account number $380.00
Nonpriority Creditor's Name
13355 NOEL RD When was the debt incurred?
SUITE 2100
Dallas, TX 75240
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O
qo Debtor 1 only (J contingent
Debtor 2 only 2 unliquidated
Ei pebtor 1 and Debtor 2 only 0 Disputed
Cl At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
EI check if this claim is for a_ community C1 student loans
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Eno C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes & other. Specify
43 MACY'S Last 4 digits of account number $334.00
Nonpriority Creditor's Name
PO BOX 8218 When was the debt incurred?
Mason, OH 45040
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O
o Debtor 1 only C Contingent
Debtor 2 only unliquidated
2 bebtor 4 and Debtor 2 only a Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
I Check if this claim is fora community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EA no C1 pebts to pension or profit-sharing plans, and other similar debts
C] ves other. Specify
4.4 SYNCB/JC PENNY Last 4 digits of account number $201.00
Nonpriority Creditor's Name
PO BOX 965007 When was the debt incurred?
Orlando, FL 32896
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O
O Debtor 1 only C1 contingent
Debtor 2 only CI unliquidated
El bebtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
K check if this claim is for a. community [1 student loans
debt CQ Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EB no C] pebts to pension or profit-sharing plans, and other similar debts
Cl Yes other. specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 3

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Best Case Bankruptcy
Case 17-13671-mkn

Debtor1 HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN

 

4.5 WELLS FARGO CARD SERVICE

 

Nonpriority Creditor's Name
PO BOX 14517 When was the debt incurred?

Des Moines, IA 50306

 

Number Street City State Zip Code

Who incurred the debt? Check one.

CO) Debtor 4 only
CO pebtor 2 only

CO Contingent
CZ unliquidated

Last 4 digits of account number

Case number (if know)

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As of the date you file, the claim is: Check ail that apply

& pebtor 1 and Debtor 2 only oO Disputed

CO atleast one of the debtors and another Type of NONPRIORITY unsecured claim:

4 check if this claim is for a. community C1 student loans

debt C2 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims

a No Cl Debits to pension or profit-sharing plans, and other similar debts

CO Yes Hl other. Specify

 

$1,217.00

 

List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Add the Amounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

6a.
Total
claims
from Part 1 6b.
6c.
6d.
6e.
6f.
Total
claims
from Part 2 6g.
6h.
Gi.
6j.

Official Form 106 E/F

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add ail other priority unsecured claims. Write that amount here.

Total Priority. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Add all other nonpriority unsecured claims. Write that amount
here.

Total Nonpriority. Add lines 6f through 6i.

Schedule E/F: Creditors Who Have Unsecured Claims

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6a.

6b.
6c.
6d.

6e.

6f.

69.
6h.

6i.

6j.

Total Claim

0.00

0.00
0.00
0.00

 

 

0.00

 

 

Totai Claim

0.00

0.00
0.00
2,432.00

 

 

2,432.00

 

 

Page 3 of 3
Best Case Bankruptcy
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Fill.in this information to identify your case:

Debtor 1 HAIG BOGHOSSIAN

First Name Middie Name Last Name

Debtor 2 SANDRA BOGHOSSIAN

(Spouse if, filing) First Name Middie Name Last Name

 

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number 17-13671-mkn
{if known) (1 Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Ef No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
(1 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

2.1

Name

Number Street

City State ZIP Code
2.2

Name

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
24

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 7

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Case 17-13671-mkn Doc13 Entered 07/19/17 15:13:26 Page 16 of 21

Fill in this information to identify your case:

Debtor 1 HAIG BOGHOSSIAN

First Name Middie Name Last Name

Debtor 2 SANDRA BOGHOSSIAN

(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number 17-13671-mkn
(if known) (QQ Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 1215

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.

Eno
Cl) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Hi No. Go to line 3.
C Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. in Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.1 _ 1] Schedule D, line
Name CO] Schedule E/F, line
C] Schedule G, line
Number Street
City State ZIP Cade
3.2 Cl Schedule D, line
Name C] Schedule E/F, line
(C1 Schedule G, line
Number Street
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 4

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Fill in this information to identi

 

Debtor 4 HAIG BOGHOSSIAN

 

Debtor 2 SANDRA BOGHOSSIAN
(Spouse, if filing)

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number 17-13671-mkn Check if this is:

(if known)

 

[1] An amended filing

[] A supplement showing postpetition chapter
13 income as of the following date:

Official Form 106 MT BDIVW
Schedule |: Your Income 1215

 

 

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment — rr
information. Debtori sis Debtor 2 or non-filing spouse _

 

 

if you have more than one job, Ei Employed IB Employed
attach a separate page with Employment status
information about additional [J Not employed CJ Not employed
employers. :
Occupation SELF EMPLOYED SELF EMPLOYED
Include part-time, seasonal, or
self-employed work. A PLUS CLEANING
Employer's name ENTERPRISES A PLUS CLEANING INTERPRISES
Occupation may include student
or homemaker, if it applies. Employer's address 7905 RAMBLEWOOD AVE 7905 RAMBLEWOOD AVE
Las Vegas, NV 89128 Las Vegas, NV 89128

 

How long employed there?
Give Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for ail employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

ForDebtor?—- For Debtor 2 or
ee non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 $ 0.00 $ 0.00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +8 0.00
4. Calculate gross Income. Add line 2 + line 3. 4. 1 $ 0.00 $ 0.00

 

 

 

 

 

Official Form 1061 Schedule i: Your Income page |
Debtor 1
Debtor2 SANDRA BOGHOSSIAN

10.

11.

12.

13.

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HAIG BOGHOSSIAN

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Case number (if known)

17-13671-mkn

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ForDebtor1 | For Debtor 2 or
- : non-filing spouse

Copy line 4 here 4. § 0.00 «6 0.00
List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. § 0.00 $ 0.00
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c. §$ 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. Insurance 5e. §$ 0.00 $ 0.00
5f. Domestic support obligations 5h S$ 0.00 $ 0.00
5g. Union dues 5g. $ 0.00 $ 0.00
5h. Other deductions. Specify: Shit § 0.00 + $ 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 § 0.00 3% 0.00
Caiculate total monthly take-home pay. Subtract line 6 from line 4. 7 $ 0.00 $ 0.00
List ail other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. §$ 3,100.00 $ 0.00
8b. Interest and dividends 8b. §$ 0.00 § 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8c. §$ 0.00 $ 0.00
8d. Unemployment compensation &d.  §$ 0.00 $ 0.00
8e. Social Security 8e. § 0.00 $ 0.00
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: 8f. = $ 0.00 $ 0.00
8g. Pension or retirement income 8g. §$ 0.00 §$ 0.00
8h. Other monthly income. Specify: 8h.+ $ 0.00 + $ 0.00
Add ail other income. Add lines 8at+8b+8c+8d+8e+8f+8g+8h. 9. 1$ 3,100.00) |$ 0.00
Calculate monthly income. Add line 7 + line 9. 10.|$ 3,100.00 | +) $ 0.00 |= $ 3,100.00

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

 

 

State ail other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and

other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify:

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it

 

applies

Do you expect an increase or decrease within the year after you file this form?

a
Cl

No.

41.

 

 

 

+$ 0.00
$ 3,100.00
Combined

monthly income

 

Yes. Explain: |

 

Official Form 1061

Schedule I: Your Income

page 2

 

 
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Fill. in this information to identify your case:

 

 

 

Debtor 1 HAIG BOGHOSSIAN Check if this is:

An amended filing
Debtor 2 SANDRA BOGHOSSIAN Ci Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: DISTRICT OF NEVADA MM /DD/YYYY

 

Casenumber 17-13671-mkn
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/45

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household

 

1. Is this a joint case?
C1 No. Go to line 2.
El Yes. Does Debtor 2 live ina separate household?
EiNo
C Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? [] No

          

 

 

 

 

Do not list Debtor 1 and El ves Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. ‘each dependent.............. Debtor 1 or Debtor 2 age live with you
Do not state the CI No
dependents names. Daughter 19 Byes

CI No

Cl Yes

C1 No

CO Yes

CI No

[] Yes

3. Do your expenses include Ei No

expenses of people other than

yourself and your dependents? [l Yes

Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the vaiue of such assistance and have included it on Schedule /: Your income
(Official Form 1061.)

 

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. . § 0.00

If not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 50.00
4d. Homeowner's association or condominium dues 4d. $ 25.00
5." Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1
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Debtor? HAIG BOGHOSSIAN
Debtor2 SANDRA BOGHOSSIAN

6.

oN

11.
12.

13.
14.
15.

16.

17.

18.
19.

20.

21.
22.

23.

24.

Official Form 106J

 

Case number (if known)

 

 

 

 

 

 

17-13671-mkn

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Utilities:
6a. Electricity, heat, natural gas 6a. $ 290.00
6b. Water, sewer, garbage collection 6b. $ 101.33
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 335.00
6d. Other. Specify: 6d. §$ 0.00
Food and housekeeping supplies 7. $ 540.00
Childcare and children’s education costs 8. $ 0.00
Clothing, laundry, and dry cleaning 9. $ §0.00
Personal care products and services 10. $ 50.00
Medical and dental expenses 11. $ 0.00
Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments 12. $ 305.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 100.00
Charitable contributions and religious donations 14. $ 0.00
Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 15c. $ 285.00
15d. Other insurance. Specify: 15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 0.00
i7b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. §$ 0.00
17d. Other. Specify: 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
Specify: 49.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's asscciation or condeminium dues - 20e. $ 0.00
Other: Specify: 21. +$ 0.00
Calculate your monthly expenses
22a. Add lines 4 through 21. $ 2,131.33
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 2,131.33
Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. §$ 3,100.00
23b. Copy your monthly expenses from line 22c above. 23b. -$ 2,131.33
23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23c.|$ 968.67

Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

EE No.

 

 

 

 

Cl Yes. | Explain here:

 

Schedule J: Your Expenses

page 2
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Fill in this information to identify your case:
Debtor 1 HAIG BOGHOSSIAN
First Name Middle Name Last Name

Debtor 2 SANDRA BOGHOSSIAN

(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court forthe: © DISTRICT OF NEVADA

 

Case number 17-13671-mkn
(if known) (1 Check if this is an

amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 412145

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Ee Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

fm No

(C1 Yes. Name of person Attach Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

 

 

X |Isi HAIG BOGHOSSIAN X Is! SANDRA BOGHOSSIAN
HAIG BOGHOSSIAN SANDRA BOGHOSSIAN
Signature of Debtor 1 Signature of Debtor 2
Date July 19, 2017 Date July 19, 2017

Official Form 106Dec - Declaration About an Individual Debtor's Schedules -

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